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                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL.                                       CIVIL ACTION NO. 3:21-cv-00242
  Plaintiffs
                                                         JUDGE WENDY B. VITTER
VERSUS
                                                         MAG. JUDGE SCOTT D. JOHNSON
LOUISIANA STATE UNIVERSITY, ET AL.
  Defendants

         MEMORANDUM IN SUPPORT OF RULE 12(b)(1) AND 12(b)(6) MOTION TO DISMISS

           MAY IT PLEASE THE COURT:

           Defendants Jennie Stewart, Angelo-Gene “A.G.” Monaco, and James Marchand submit

this memorandum in support of their Rule 12(b) motion to dismiss all claims alleged against

them by plaintiffs in their Amended Class Action Complaint1 pursuant to either Rule 12(b)(1) for

lack of subject matter jurisdiction or Rule 12(b)(6) for plaintiffs’ failure to state a claim.

           This case is essentially a Title IX lawsuit against LSU brought by ten individual plaintiffs

who all identify themselves as female students at LSU from 2013-2021 and who seek to

represent a class consisting of every female student at LSU who enrolled at any LSU campus

over a nine-year period. Their Amended Class Action Complaint is a sprawling, rambling 145-

page document with 589 individually numbered paragraphs that attempts to state claims

against the Board of Supervisors of Louisiana State University (“LSU”), the Tiger Athletic

Foundation (“TAF”), and fifteen individual current or former employees of LSU, including LSU’s

President, its head football coach, and anyone plaintiffs could even tangentially link to alleged

mishandling of LSU’s Title IX enforcement program. Instead of simply pursuing a Title IX lawsuit

against LSU, plaintiffs have opted to assert “shotgun” allegations against an amalgam of

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unrelated individual defendants, the apparent purpose of which is to cause LSU and the State of

Louisiana to incur exorbitant legal fees and litigation expenses in defending the suit. Plaintiffs’

attempt to burden each of the individual defendants with the time and expense of defending

clearly inapplicable and unnecessary claims should be rejected by this Court.

               RELEVANT FACTS ALLEGED IN AMENDED CLASS ACTION COMPLAINT

          The facts alleged in the Amended Class Action Complaint are too numerous for these

defendants to summarize, and they will no doubt be discussed at length by the many other

parties named in this case. To avoid wasting the Court’s time with repetitive pleadings, these

three movants will focus solely on the facts alleged specifically against them.

          Plaintiffs allege that Monaco was the Associate Vice President of Human Resource

Management for LSU from 2010 to April 10, 2018.2            Marchand served as LSU’s Title IX

Coordinator from 2013-15.3 Stewart is and has been LSU’s Title IX Coordinator from 2015 to

present.4

          The factual allegations against Marchand and Monaco are beyond scant. Plaintiffs

allege that Marchand was the sole employee staffing LSU’s Title IX office from 2013 to 2015. 5

Monaco is alleged to have been designated as the LSU employee responsible for coordinating

Title IX compliance pursuant to the university’s Equal Opportunity Policy for an unidentified

time period.6 Plaintiffs allege that “it has also been reported that Monaco refused to provide

interim measures to one of the student victims of former LSU football coach Les Miles” at an



2
  Id., ¶ 34.
3
  Id., ¶ 46.
4
  Id., ¶ 47.
5
  Id., ¶ 62.
6
  Id., ¶ 63.

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unspecified time.7 No additional facts are alleged specifically against Marchand or Monaco;

these limited facts alone are woefully insufficient to state a valid claim.

         The allegations against Stewart, while still vague, are at least slightly more detailed.

Three of the ten named plaintiffs allege specific actions by Stewart.

         Plaintiff Abby Owens alleges that she was raped in 2016 by an LSU football player.8

Owens alleges that she was not aware of the existence of LSU’s Title IX office prior to 2019.9 On

May 20, 2019, Owens – who left LSU two years earlier, in March 201710 – contacted the Title IX

office for the first time to request a copy of the investigation report for her alleged 2016 rape.11

On May 22, 2019, plaintiffs claim Stewart told Owens that she had heard about her rape but did

not move forward with an investigation because the Athletic Department did not provide

Stewart the name of the alleged assailant.12 Plaintiffs allege no further contact between

Stewart and Owens until her attorney submitted a public records request to the Title IX office

to obtain a copy of any record relating to Owens’ 2016 rape.13           Stewart responded to the

request with an e-mail on August 17, 2020, stating that the Title IX office had no records to

provide.14 Stewart also told Owens that if Owens wanted to learn the identity of the individual

at LSU to whom the rape was reported she should contact the rehabilitation facility to which

she was admitted in 2017, as that facility provided the initial report to LSU.15




7
  Id., ¶ 64.
8
  Id., ¶¶ 193-95.
9
  Id., ¶ 201.
10
   Id., ¶ 200.
11
   Id., ¶ 203.
12
   Id., ¶ 204.
13
   Id., ¶ 205.
14
   Id., ¶ 206.
15
   Id.

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         Plaintiff Elisabeth Andries alleges that she was assaulted by a male LSU student during a

fraternity bus trip in October 2016.16 She alleges that the same student again attempted to

assault her in July 2017 after she picked him up from a bar.17 Years later, on March 7, 2019,

Andries reported the assaults to defendant Tracy Blanchard, LSU’s Assistant Dean of Students &

Associate Director of Advocacy In LSU’s Office of Student Advocacy & Accountability (“SAA”).18

SAA in turn reported the assaults to the Title IX office on March 8, 2019.19 On April 2, 2019,

Stewart told Andries that there was no reason to issue a no-contact order against the alleged

assailant because there had been no contact to forbid in the nearly two years since July 2017.20

         LSU’s Title IX investigation into Andries’ complaint, issued on June 3, 2019, concluded

that the alleged assailant violated LSU’s Title IX policies.21 The alleged assailant appealed the

finding.22 He then requested an extension of the appeal deadline, which was extended twice.23

A second student who alleges she was assaulted by the same assailant on the same fraternity

bus trip24 spoke to Stewart and asked why she was not interviewed in the investigation and

whether she should file her own complaint.25 When that student asked why the appeal

deadline was extended twice, Stewart allegedly stated that she did not have to “justify her




16
   Id., ¶¶ 210-12.
17
   Id., ¶ 214.
18
   Id., ¶ 222.
19
   Id., ¶ 222.
20
   Id., ¶ 224.
21
   Id., ¶ 226.
22
   Id., ¶ 227.
23
   Id., ¶ 227.
24
   Id., ¶ 211
25
   Id., ¶ 227.

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decisions” to students.26 Thereafter, on July 22, 2019, Stewart denied the alleged assailant’s

appeal.27

         Finally, plaintiff Corinn Hovis alleges that she was raped by an LSU football player (Loe)

on January 24, 2020.28 After Hovis suffered a panic attack later that night, her roommate

contacted the dorm’s Resident Assistant and Hovis decided to file a report with LSUPD, who in

turn contacted the Baton Rouge Police Department because the incident occurred off

campus.29 Residential Life personnel reported the incident to the Title IX office.30 On January

31, 2020, Stewart met with Hovis to explain her reporting options, with Hovis deciding to move

forward.31 On March 6, 2020, the investigator assigned to the case concluded that Loe violated

the Title IX policy.32 In June 2020, Loe was suspended for one month and issued a no-contact

directive prohibiting him from communicating with Hovis.33 Hovis alleges that Loe violated this

directive by having his girlfriend contact Hovis on two occasions in May 2020.34 Hovis alleges

that these contacts were reported to Stewart but that LSU took no further disciplinary action

against Loe. Loe then transferred from LSU to another university on August 6, 2020.35

         No other named plaintiffs lodge any specific factual allegations against Stewart

whatsoever. These limited facts alleged against Stewart provide no plaintiff with any claim

directly against Stewart as an individual.



26
   Id., ¶ 227.
27
   Id., ¶ 229.
28
   Id., ¶¶ 323-25.
29
   Id., ¶ 326.
30
   Id., ¶ 328.
31
   Id., ¶ 328.
32
   Id., ¶ 330.
33
   Id., ¶ 331.
34
   Id., ¶ 332.
35
   Id., ¶ 332.

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                                         LEGAL STANDARD

       To survive a Rule 12(b) motion to dismiss, the plaintiff must plead “enough facts to state

a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 697, 129 S.Ct.

1937, 173 L.Ed.2d 868 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167

L.Ed.2d 929 (2007). A claim is facially plausible when the plaintiff pleads facts that allow the

court to “draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft at 678, 129 S.Ct. 1937. A court must accept all well-pleaded facts as true and

must draw all reasonable inferences in favor of the plaintiff. Lormand v. US Unwired, Inc., 565

F.3d 228, 239 (5th Cir. 2009); Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1986).

       A legally sufficient complaint must establish more than a “sheer possibility” that the

plaintiff’s claim is true. Iqbal, 556 U.S. at 678, 129 S.Ct. 1937. It need not contain detailed

factual allegations, but it must go beyond labels, legal conclusions, or formulaic recitations of

the elements of a cause of action. Id. In other words, the face of the complaint must contain

enough factual matter to raise a reasonable expectation that discovery will reveal evidence of

each element of the plaintiff’s claim. Lormand, 565 F.3d at 257. If there are insufficient factual

allegations to raise a right to relief above the speculative level, or if it is apparent from the face

of the complaint that there is an insuperable bar to relief, the claim must be dismissed.

Twombly, 550 U.S. at 555, 127 S.Ct. 1955.




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                                         LAW AND ARGUMENT36

        Of the twenty counts stated in the Amended Class Action Complaint, six (Counts I, II, III,

IV, X, XI) are stated purely against LSU and one (XVIII) has been voluntarily dismissed. Stewart,

Monaco, and Marchand will discuss the bases for dismissal of each of the thirteen remaining

counts in turn.

        I.        Plaintiffs’ complaint should be dismissed in its entirely as an improper
                  “shotgun pleading.”

        Shotgun pleadings contain several counts within a complaint with each count

“incorporating by reference the allegations of its predecessors, leading to a situation where

most of the counts (i.e., all but the first) contain irrelevant factual allegations and conclusions.’

Copeland v. Axiom Mortgage Group, LLC, 2016 WL 4250341, at *4 (S.D. Miss. 2016) (citations

omitted). Another characteristic of improper shotgun pleadings is that they fail to distinguish

between the actions of individual named defendants and attempt to lump all defendants

together in allegations. Id. This makes it impossible for any reader of the complaint, including

the Court, to decipher which party committed which alleged acts. The Fifth Circuit specifically

discourages these types of shotgun pleadings “where the pleader heedlessly throws a little bit

of everything into his complaint in the hopes that something will stick.” S. Leasing Partners,

Ltd. v. McMullan, 801 F.2d 783, 788 (5th Cir. 1986). Shotgun complaints are subject to

dismissal under F.R.C.P. 12(b)(6). See Paylor v. Hartford Fire Ins. Co., 748 F.3d 1117, 1126-27

(11th Cir. 2014).




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  In addition to the arguments presented in this memorandum, Stewart, Monaco, and Marchand adopt and
incorporate all arguments presented by the other twelve inappropriately named individual defendants in the
motions to dismiss filed by those defendants.

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       Plaintiffs’ Amended Complaint is on its face an obviously improper shotgun pleading. It

is 145 pages long, contains 589 separately numbered paragraphs, and attaches a 262-page

exhibit. It names nineteen separate defendants, many of whom are named on what would

generously be described as a thin basis. Aside from Count I, each count purports to “adopt and

incorporate by reference the previous plead (sic) paragraphs as if fully plead (sic) herein.” Most

counts refer to actions generically committed by “Defendants” with little attempt to distinguish

between them. In response, the Court will be forced to wade through hundreds and hundreds

of pages of pleadings in opposition, making this litigation practically impossible to manage.

Instead of focusing narrowly on their Title IX claims against the entity defendants, plaintiffs

have attempted to state numerous counts against every individual person listed in a

voluminous report in the hopes of making at least claim against one defendant stick. To require

defendants like Monaco and Marchand to defend themselves against such a pleading, where

they are mentioned fewer times than could be counted on one hand, is absurd and a waste of

the Court’s and the parties’ time and resources.

       These defendants submit that the Court should dismiss the Amended Complaint in its

entirety or require the plaintiffs to substantially narrow the defendants and claims before

allowing this litigation to move forward.

       II.     All claims seeking damages from Stewart, Monaco, and Marchand in their
               “official capacities” must be dismissed.

       The State of Louisiana is immune from suit in federal court under the Eleventh

Amendment, which bars actions in federal court against a state or state agency unless a state

has consented to be sued or Congress has clearly and validly abrogated the immunity. See, e.g.,

Pennhurst State Sch. & Hosp. v. Halderman, 456 U.S. 89, 100 (1984); Perez v. Region 20 Educ.

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Serv. Ctr., 307 F.3d 318, 326 (5th Cir. 2002). The State of Louisiana has not waived its immunity

under Louisiana state law. La. R.S. 13:5106(A) provides that “[n]o suit against the state or a

state agency or political subdivision shall be instituted in any court other than a Louisiana state

court.” Plaintiffs’ claims against Stewart, Monaco, and Marchand, government agents named

in their official capacities, are “nothing more than a suit directly against [a] sovereign.” Corn v.

Miss. Dep’t of Pub. Safety, 954 F.3d 268, 275 (5th Cir. 2020) (quoting Humphries v. Various Fed.

USINS Emps., 164 F.3d 936, 941 (5th Cir. 1999). These defendants are therefore entitled to

dismissal of all state law claims brought against them in their official capacity under the

Eleventh Amendment for lack of subject matter jurisdiction under F.R.C.P. 12(b)(1).

       III.    Count V, “Retaliation by Withholding Protection Otherwise Conferred by Title
               IX,” must be dismissed against these defendants because Title IX creates no
               cause of action for individual liability.

       Count V alleges that “the LSU Defendants,” including Stewart, Monaco, and Marchand,

retaliated against them for submitting Title IX complaints by failing to comply with various

mandates of Title IX. However, it is well established within the Fifth Circuit that Title IX does

not create or provide a cause of action against an individual employee for individual liability.

“Liability under Title IX does not extend to school officials, teachers, and other individuals.”

Plummer v. Univ. of Houston, 860 F.3d 767, 776 n. 12 (5th Cir. 2017) (citing Davis v. Monroe Cty.

Bd. of Ed., 526 U.S. 629, 640-43 (1999); Jones v. Southern Univ., 2020 U.S. Dist LEXIS 50762, at

*13 (M.D. La. Feb. 27, 2020) (dismissing Title IX claims against individual administrators at

Southern University in Baton Rouge). Plaintiffs appear to be aware of this, not having named

any individual defendants in Counts I-IV alleging Title IX violations against LSU. Count V against




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Marchand, Monaco, and Stewart must be dismissed, with prejudice, because no claim lies

against them individually under Title IX.

       IV.     Plaintiffs’ three Section 1983 claims against Stewart, Monaco, and Marchand
               should be dismissed on the basis of qualified immunity.

       Counts VI, VII, and VIII respectively allege violations of the First Amendment as well as

the equal protection and due process clauses of the Fourteenth Amendment. These claims are

all asserted through the procedural vehicle provided by 42 U.S.C. § 1983.

       Section 1983 provides a private right of action against parties acting “under color of any

statute, ordinance, regulation, custom, or usage, of any State” to redress the deprivation of

rights secured by the United States Constitution or federal law." Bauer v. Texas, 341 F.3d 352,

357 (5th Cir. 2003) (quoting City of St. Louis v. Praprotnik, 485 U.S. 112, 121, 108 S.Ct. 915, 99

L.Ed. 2d 107 (1988)). Section 1983 “is not itself a source of substantive rights” but merely

provides “a method for vindicating federal rights elsewhere conferred.'" Albright v. Oliver, 510

U.S. 266, 271, 114 S.Ct. 807, 127 L.Ed. 2d 114 (1994) (quoting Baker v. McCollan, 443 U.S. 137,

144 n.3, 99 S.Ct. 2689, 61 L.Ed. 2d 433 (1979)).

       To state a section 1983 claim, a plaintiff must (1) allege a violation of a right secured by

the Constitution or laws of the United States and (2) demonstrate that the alleged deprivation

was committed by a person acting under color of state law. Whitley v. Hanna, 726 F.3d 631,

638 (5th Cir. 2013) (quoting James v. Tex. Collin Cty., 535 F.3d 365, 373 (5th Cir. 2008).

       Qualified immunity is an affirmative defense which may be pleaded by a government

employee in response to any Section 1983 claim. “Qualified immunity attaches when an

official’s conduct does not violate clearly established statutory or constitutional rights of which

a reasonable person would have known.” White v. Pauly, 137 S.Ct. 548, 551, 196 L.Ed. 2d 463

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(2017) (quoting Mullenix v. Luna, 136 S.Ct. 308, 308, 193 L.Ed. 255 (2015)).                It “gives

government officials breathing room to make reasonable but mistaken judgments and protects

all but the plainly incompetent or those who knowingly violate the law.” Ashcroft v. al-Kidd,

563 U.S. 731, 743 (2011). [Emphasis added.] Courts will not deny immunity unless “existing

precedent … placed the statutory or constitutional question beyond debate.” Id.; Whitley, 726

F.3d at 638 (quoting Ashcroft). A plaintiff seeking to overcome qualified immunity bears the

burden to show “(1) that the official violated a statutory or constitutional right, and (2) that the

right was ‘clearly established’ at the time of the challenged conduct.” Id. “Clearly established

law” must be “particularized to the facts of a case.” Samples v. Vadzemnieks, 900 F.3d 655, 662

(5th Cir. 2018). While this does not require a prior case “directly on point,” “precedent must

still put the underlying question beyond debate.” Id. (citing Mullenix v. Luna, 136 S.Ct. 305, 308

(2015)).

            As set forth in the following sections, Stewart, Monaco, and Marchand are each entitled

to qualified immunity against all Section 1983 claims pleaded by plaintiffs.

                   a. Count VI – “First Amendment Retaliation”

            Plaintiffs allege generally that they exercised their constitutionally protected right to

freedom of speech by reporting sexual misconduct to LSU employees and by criticizing LSU’s

handling of their complaints.37 They then allege that these defendants “attempt[ed] to regulate

the content of Plaintiffs’ speech” by failing to properly investigate reports or by making various

statements—none of which are attributed anywhere in the shotgun complaint to Monaco,

Marchand, or Stewart.


37
     Id., ¶ 426.

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       These three defendants submit that they are each entitled to qualified immunity

dismissing Plaintiffs’ First Amendment claim under the second prong of the qualified immunity

analysis, as there is no clearly established case law which would have put any reasonable state

official on notice that failing to properly investigate a Title IX report would be a violation of a

student’s First Amendment rights. There is no case law even remotely on point with any

precedential authority in the Fifth Circuit on this issue; this issue is res nova.

       The First Amendment prohibits not only direct limits on individual speech but also

adverse government action against an individual in retaliation for the exercise of protected

speech activities. Cass v. City of Abilene, 814 F.3d 721, 729 (5th Cir. 2016) (citing Keenan v.

Tejeda, 290 F.3d 252, 258 (5th Cir. 2002)). To establish a First Amendment retaliation claim, a

plaintiff must show that (1) she was engaged in a constitutionally protected activity; (2) the

defendant’s actions caused her to suffer an injury that would chill a person of ordinary firmness

from continuing to engage in that activity; and (3) the defendant’s adverse actions were

substantially motivated by the constitutionally protected conduct. Id. With respect to the

second element, to demonstrate a showing of injury, a plaintiff must show that her exercise of

free speech has been curtailed. Keenan, 290 F.3d at 259.

       The limited factual allegations against Stewart, Monaco, and Marchand fail to establish

that any plaintiff engaged in constitutionally protected speech or that any acts by these

defendants were motivated by the protected speech of any plaintiff. These claims therefore

fail the first prong of the qualified immunity analysis regarding whether any constitutional right

was violated. Ashcroft, 563 U.S. at 743. Further, there are zero reported cases from the U.S.

Supreme Court or within the U.S. Fifth Circuit in which a state actor’s alleged failure to properly


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investigate a Title IX complaint was deemed to violate an individual’s First Amendment rights.

These claims likewise fail on the second prong of the qualified immunity analysis because there

is no clearly established case law putting defendants on notice that their actions were violations

of the plaintiff’s rights. Id.

            Accordingly, the First Amendment claims against Stewart, Monaco, and Marchand

should be dismissed on the basis of qualified immunity.

                   b. Count VII – Denial of Equal Protection

            Plaintiffs allege that Stewart, Monaco, Marchand, and all other defendants

“discriminated against Plaintiffs on the basis of sex by subjecting them to a hostile environment

and failing to appropriately respond to and investigate reports of sexual misconduct and other

violations detailed previously in [the] Complaint.”38

            The Fourteenth Amendment in part provides as follows:

            No State shall make or enforce any law which shall abridge the privileges or
            immunities of citizens of the United States; nor shall any State deprive any
            person of life, liberty, or property, without due process of law; nor deny to any
            person within its jurisdiction the equal protection of the laws.

            To state a claim of discrimination under the Fourteenth Amendment, a plaintiff must

allege that (1) she received treatment different from that received by similarly situated

individuals and (2) the unequal treatment stemmed from a discriminatory intent. Fennell v.

Marion Indep. Sch. Dist., 804 F.3d 398, 412 (5th Cir. 2015) (alleging discrimination based on

race). To establish the necessary discriminatory intent, a plaintiff must show “that the decision

maker singled out a particular group for disparate treatment and selected his [or her] course of

action at least in part for the purpose of causing its adverse effect on an identifiable group.” Id.

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     Id., ¶ 436.

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(citing Prister v. Lowndes Cty., 354 F.3d 414, 424 (5th Cir. 2004)). Allegations of discriminatory

intent that are merely conclusory, without reference to specific facts, will not suffice to

overcome a motion to dismiss. Id.

       No allegations against Stewart, Monaco, and Marchand reflect intent by any of them to

discriminate against the plaintiffs because of their gender. Stewart, of course, is herself a

woman and no basis is provided to conclude that she harbored discriminatory intent against

other women.      The complaint alleges almost no facts specifically related to Monaco or

Marchand, much less facts evidencing discriminatory intent. None of these defendants are

alleged to have made any comments reflecting discriminatory animus against women. Plaintiffs

do not even allege disparate treatment in the handling of Title IX complaints; there is no

allegation that the Title IX complaints of any woman were treated differently from any man

who filed complaints. Stewart, Monaco, and Marchand are entitled to dismissal of this count

based on qualified immunity under the first prong of the qualified immunity analysis.

               c. Count VIII – Denial of Procedural Due Process

       To establish a procedural due process claim under the Fourteenth Amendment, a

plaintiff must show that (1) she was deprived of a life, liberty, or property interest protected by

the Fourteenth Amendment and (2) the administrative procedures attendant to the deprivation

did not satisfy the constitutional requirements of procedural due process. Wheelahan v. City of

New Orleans, No. 19-11720, 2020 U.S. Dist. LEXIS 54571, at pp. 42-43 (E.D. La. 3/30/20) (citing

Welch v. Thompson, 20 F.3d 636, 639 (5th Cir. 1994)).

       No plaintiff has alleged deprivation of any life, liberty, or property interest

contemplated by the Fourteenth Amendment. The plaintiffs generally allege that they were


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deprived of “their liberty and property interest in accessing educational opportunities or

benefits.”39       But “most case law involving due process in the educational setting concerns

student dismissals or suspensions from academic institutions.” Smith v. Davis, 507 Fed. Appx.

359, 362. (5th Cir. 2013). None of the plaintiffs in the instant case were dismissed or suspended

from school. To the extent these plaintiffs allege a new theory that something other than

discipline or dismissal could deprive them of a protected property interest in their education,

there are no cases from the U.S. Supreme Court or within the Fifth Circuit which clearly

establish that right. This is, once again, a res nova claim.

            Stewart, Monaco, and Marchand are entitled to qualified immunity and dismissal of

plaintiffs’ due process claims under both prongs of the qualified immunity analysis.

            V.     Count IX, “Conspiracy to Deny Civil Rights,” must be dismissed as there are no
                   allegations regarding a conspiracy involving Stewart, Monaco, or Marchand,
                   and as noted above there are no viable claims for violation of equal process
                   rights.

            Plaintiffs’ claim under Count IX is premised upon 42 U.S.C. § 1985(3), which provides in

relevant part:

            If two or more persons in any State or Territory conspire … for the purpose of
            depriving, either directly or indirectly, any person or class of persons of the equal
            protection of the laws … the party so injured or deprived may have an action for
            the recovery of damages, occasioned by such injury or deprivation, against any
            one or more of the conspirators.

            A plaintiff must show four elements to establish a cause of action for conspiracy under

Section 1985(3): (1) the defendants must conspire; (2) for the purpose of depriving, either

directly or indirectly, any person or class of persons of the equal protection of the laws; (3) the

defendants must act in furtherance of the object of the conspiracy; and (4) some person was (a)

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     Id, ¶ 446.

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injured in his person or property or (b) deprived of having and exercising any right or privilege

of a citizen of the United States. McLellan v. Mississippi Power & Light Col., 545 F.2d 919, 923

(5th Cir. 1977).

       To demonstrate a “conspiracy” for the purposes of a Section 1985(3) claim, plaintiffs

must allege facts to establish an actual agreement between all the various defendants to come

together to deprive the plaintiffs of their right to equal protection. See, e.g., Barber v. District

of Columbia Gov’t, 394 F.Supp.3d 49, 66 (D.D.C. 2019). And as set forth in Section II(b) above,

plaintiffs cannot establish that Stewart, Monaco, or Marchand violated any rights to equal

protection because they fail to allege that the Title IX complaints of male students were

handled differently.    Nothing in the complaint establishes “the existence of any events,

conversations, or documents indicating that there was ever an agreement or meeting of the

minds” between these three defendants and the various other defendants to participate in a

conspiracy to violate their rights. Id. (citing McManus v District of Columbia, 530 F.Supp.2d 46,

75 (D.D.C. 2007). Plaintiffs allege no facts purporting to show that any of the three moving

defendants had a meeting of the minds among themselves or with other defendants to agree to

violate the rights of these plaintiffs. Plaintiffs provide nothing more than conclusory allegations

of conspiracy. Plaintiffs’ claims under Section 1985(3) must be dismissed.

       Without a viable claim under Section 1985(3), the plaintiffs’ claims under Section 1983

also fail, because a Section 1983 claim is entirely derivative from Section 1985. See, e.g., Swift

v. Motagnino, 2002 U.S. Dist. LEXIS 30596, at *25 (E.D. La. Aug. 12, 2002).




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            VI.    Count XII, “Negligence,” must be dismissed against these defendants on the
                   basis of Eleventh Amendment immunity because the State of Louisiana is the
                   real, substantial party in interest.

            Plaintiffs allege that Stewart, Monaco, and Marchand were at all relevant times

employees of LSU acting within the course and scope of their LSU employment.40 The Eleventh

Amendment prohibits suit against state officials for violations of state law when “the state is

the real, substantial party in interest.” Hughes v. Savell, 902 F.2d 376, 377 (5th Cir. 1990)

(quoting Ford Motor Company v. Department of Treasury of Indiana, 323 U.S. 459, 464 (1945).

The State of Louisiana is the “real party in interest” if a judgment in a case would compel

expenditures from the State treasury. Id. A claim that a state official violated a state law—

including Louisiana Civil Code Article 2315, the provision which creates an action for negligence

under Louisiana law—is a claim against the state per the Fifth Circuit. Id. (citing Pennhurst, 465

U.S. at 121. As the Supreme Court explained in Pennhurst:

            A federal court's grant of relief against state officials on the basis of state law,
            whether prospective or retroactive, does not vindicate the supreme authority of
            federal law. On the contrary, it is difficult to think of a greater intrusion on state
            sovereignty than when a federal court instructs state officials on how to conform
            their conduct to state law. Such a result conflicts directly with the principles of
            federalism that underlie the Eleventh Amendment.

465 U.S. at 106. Based upon this reasoning in Pennhurst, the Fifth Circuit concluded in Hughes

that “where litigants accuse state officers of violating state common law when acting in the

course and scope of their employment, the Eleventh Amendment prevents the litigant from

raising the claim in federal court whether the litigant seeks damages or injunctive relief.”

Hughes, 902 F.2d at 378 (citing Pennhurst). Further, under La. R.S. 13:5108.1(A)(1), the State of

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     Id., ¶ 50.

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Louisiana is required to defend and indemnify any State employee against claims for negligence

“when the act that forms the basis of the cause of action took place while the individual was

engaged in the performance of the duties of the individual’s office, employment with the state,

or engaged in the provision of services on behalf of the state or any of its departments.”

Plaintiffs allege that all acts by Stewart, Monaco, and Marchand were performed within the

course and scope of their employment of LSU; therefore, the State of Louisiana would be

ultimately responsible for paying any award rendered against these defendants for alleged

negligence from State treasury funds.

       As the Fifth Circuit noted later in Richardson v. Southern Univ., 118 F.3d 450 (5th Cir.

1997), this attempt to state negligence claims against individual State employees in federal

court is nothing more than a “creative attempt at repackaging the nature of [their] suit” against

LSU itself.   Id.at 453 (citing Hughes).     Under these circumstances, Eleventh Amendment

sovereign immunity bars these claims against Stewart, Monaco, and Marchand just as it bars

them against LSU.

       Stewart, Monaco, and Marchand anticipate that LSU, itself a defendant in this lawsuit,

will move to dismiss all state law claims asserted by the plaintiffs against LSU based on Eleventh

Amendment immunity. Plaintiffs’ back door attempt to circumvent immunity by asserting

these claims against individual employees, when the State itself is ultimately responsible, is a

naked attempt to avoid Eleventh Amendment immunity. Based on the rationale of Pennhurst

and Hughes, the Court should reject this attempt and dismiss all negligence claims against

Stewart, Monaco, and Marchand based on Eleventh Amendment immunity, without prejudice

to plaintiffs’ rights to assert these claims in a Louisiana state court should they so choose.


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       VII.    Count XIII, “Negligent Supervision,” must also be dismissed based on Eleventh
               Amendment immunity.

       Stewart, Monaco, and Marchand submit that they are entitled to dismissal of these

claims of negligence set forth in Count XIII for the same reasons they are entitled to dismissal of

the claims for negligence set forth in Count XII. The claims should be dismissed based on

Eleventh Amendment immunity without prejudice to plaintiffs’ rights to assert these claims in a

Louisiana state court.

       In addition, the moving defendants are immune from personal liability for claims of

negligent training and supervision under state law. La. R.S. 9:2798.1 provides public officials

with immunity from tort liability “based upon the exercise of performance or the failure to

exercise or perform their policymaking or discretionary acts when such acts are within the

course and scope of their lawful powers and duties.” Per the Fifth Circuit, Louisiana courts have

adopted a test analogous to the Federal Tort Claims Act’s discretionary function test to

determine whether an official is provided personal immunity under this statute. Roberts v. City

of Shreveport, 397 F.3d 287, 296 (5th Cir. 2005). A court must consider (1) whether a state law,

regulation, or policy specifically prescribes the official’s course of action, and (2) whether the

challenged action is grounded in political, economic, or social policy. Id.

       In Roberts, the Fifth Circuit noted that a police chief “had a wide variety of options for

training officers under his command” and “no law, regulation, or policy of the State of Louisiana

explicitly directed his course of action,” thus satisfying the first prong. Id. Further, the official’s

training and supervisory decisions were “grounded in policy considerations” because decisions

to train involved considerations of community needs, situations that would be encountered by

subordinates, and budgets available for training. Id. The court thus held that a failure to train

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claim fell within the chief’s discretionary immunity.          Other courts since Roberts have

determined that training is a discretionary function subject to immunity under state law.

Hoffpauir v. Columbia Cas. Co., 2013 U.S. Dist. LEXIS 158026, at *35-36 (“hiring, training,

supervising, or screening officers” were discretionary functions of sheriff subject to immunity

under Louisiana law); Aubin v. Columbia Cas. Co., 272 F.Supp.3d 828, 833 n.1 (M.D. La. 2017)

(citing Roberts and Hoffpauir to dismiss a state law failure to train claim).

       VIII.   Count XIV, “Negligent Infliction of Emotional Distress,” must likewise be
               dismissed based on Eleventh Amendment immunity.

       Defendants re-adopt the arguments presented the two preceding sections of this

memorandum and request that these claims be dismissed without prejudice based on Eleventh

Amendment immunity.

       IX.     Count XV, “Intentional Infliction of Emotional Distress,” must be dismissed due
               to plaintiff’s failure to state a claim.

       The Louisiana Supreme Court has repeatedly held that, to state a claim of intentional

infliction of emotional distress under Louisiana law, a plaintiff must show that (1) the conduct

alleged was extreme and outrageous, (2) the emotional distress suffered was severe, and (3)

the defendant desired to inflict severe emotional distress or knew that severe emotional

distress would be certain or substantially certain to result from her conduct.        White v.

Monsanto Co., 585 So.2d 1205, 1209 (La. 1991); Nicholas v. Allstate Ins. Co., 765 So.2d 1017,

1022 (La. 2000); LaBove v. Raftery, 802 So.2d 566, 577 (La. 2001). See also Lincoln v. Mendler,

2018 U.S. Dist. LEXIS 150018, at *7 (E.D. La. Aug. 31, 2018) (citing White v. Monsanto). “The

conduct must be so outrageous in character, and so extreme in degree, as to go beyond all

possible bounds of decency, and to be regarded as atrocious and utterly intolerable in a


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civilized community.” Id. “Liability does not extend to mere insults, indignities, threats,

annoyances, petty oppressions, or other trivialities.” Id. The distress suffered “must be such

that no reasonable person could be expected to endure it.” Id. at 1210.

       Louisiana courts have cautioned that intentional torts should be narrowly construed.

Gaspard v. Orleans Parish School Board, 688 So.2d 1298, 1301 (La. App. 4 Cir. 1997). An

intentional act occurs only when an actor consciously desired the consequences of the act to

occur or when he knew the result was certain or so substantially certain as to be nearly

inevitable or virtually certain to follow. Id. at 1301. Mere knowledge or appreciation of a risk

does not constitute intent. Id. at 1301-1302.

       According to the Fifth Circuit, Louisiana has set “a very high threshold on conduct

sufficient to sustain an emotional distress claim, and the Louisiana Supreme Court has noted

that courts require truly outrageous conduct before allowing a claim even to be presented to a

jury.” Morris v. Dillard Dep’t Stores, Inc., 277 F.3d 743, 756-56 (5th Cir. 2001). Regarding the

severity of emotional distress sustained by a plaintiff, the Fifth Circuit has noted that the

distress must be “unendurable.” Smith v. Amedisys Inc., 298 F.3d 434, 450 (5th Cir. 2002).

       Plaintiffs allege no conduct by Stewart, Monaco, or Marchand which even remotely

approaches the relevant standard set forth for a claim of intentional infliction of emotional

distress. These claims must be dismissed with prejudice.

       X.     Count XVI, “Bad Faith Breach of Contract,” must be dismissed because
              plaintiffs have not alleged any valid contract between themselves and the
              moving defendants.

       Plaintiffs allege that the LSU’s Code of Student Conduct, Title IX Policy, Sexual

Harassment Policy, and Equal Opportunity Policy collectively formed a “contract” with various


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defendants including Stewart, Monaco, and Marchand. These defendants submit that there

was no contract to be breached.

       Under Louisiana law, a contract is formed by consent of the parties established through

offer and acceptance that may be made orally, in writing, or by action or inaction that is clearly

indicative of consent. Ranson v. Cooper, 16-29 (La. App. 1 Cir. 9/19/16), 228 So.3d 1254, 1257

(citing La. Civ. Code Art. 1927). When there is no “meeting of the minds” between the parties,

there is no consent and thus no enforceable contract. Id. Plaintiffs bear the burden of proving

that an enforceable contract existed between them and LSU. Estate of Mayeux v. Glover, 08-

2031 (La. App. 1 Cir. 1/12/10), 31 So.3d 1090, 1095.

       There is no factual support for a claim that Stewart, Monaco, or Marchand had intent to

enter into a contract with the plaintiffs, or that any plaintiff had intent to enter into a contract

specifically with these individual defendants. There is no evidence that these defendants were

personally involved in the drafting of any of these codes or policies or any amendments to

those policies. None of these documents were the “result of negotiations between” any

plaintiff and any of these defendants; instead, these policies were unilaterally issued by LSU

and were subject to unilateral amendment by LSU at any time without the input or consent of

any plaintiff or these defendants. Even if these documents somehow formed a contract

between LSU and the plaintiffs, which is denied, there is no support for any contention that

Stewart, Monaco, or Marchand as employees of LSU were themselves parties to the contract.

       Finding the existence of a “contract” between these defendants and plaintiffs would

diverge from current Louisiana jurisprudence.        No Louisiana state court or federal court

applying Louisiana law has ever recognized a contractual relationship between a university


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student and a public university. See, e.g., Dung Quoc Pham v. Univ. of La. At Monroe, 2016 WL

10674046, at *2 (W.D. La. Apr. 8, 2016) (“It is unclear whether Louisiana recognized a

contractual relationship between a student and public university”).                          Courts have found

contractual relationships between students and private universities—see Guidry v. Our Lady of

the Lake Nurse Anesthesia Program, 14-461 (La. App. 1 Cir. 1/29/15), 170 So.3d 209, 213—but

there is no corollary for public universities such as LSU. The reasoning for this is clear: public

university students, unlike students at private universities, are afforded certain protections

against arbitrary and capricious acts of a public institution through federal and state

constitutional due process principles, whereas there is no such recourse for students attending

a private university.         Courts have therefore described the relationship between private

universities and their students as “contractual in nature.”41

         Allowing the plaintiffs to proceed with breach of contract claims in this case would

create a brand-new cause of action never previously recognized against public universities in

Louisiana. The Court should decline plaintiffs’ attempt to fundamentally alter the relationship

that public universities currently have with their tens of thousands of students.

         LSU’s unilateral ability to change its handbooks and policies makes the handbook and

policies cited by plaintiffs analogous to employment handbooks unilaterally mandated by

employers. As the Fifth Circuit has noted, “Louisiana courts have not been inclined to find


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  See Southwell v. Univ. of Incarnate Word, 971 S.W.2d 351, 356 (Tex. App. – San Antonio 1998) (“[A] contractual
relationship need not necessarily be logically inferred to exist between a student and a public school because
education at such institutions is a benefit endowed by the State. However, ‘the relationship between a private
school and its student has by definition primarily a contractual basis.’ If such were not the case, neither the school
nor the student would have a remedy at a private institution in situations in which non-performance caused
damage. Accordingly, where a private college or university impliedly agrees to provide educational opportunity
and confer the appropriate degree in consideration for a student’s agreement to successfully complete degree
requirements, abide by university guidelines, and pay tuition, a contract exists.”)

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contracts in employment manuals. Wallace v. Shreve Memorial Library, 79 F.3d 427, 430 (5th

Cir. 1996).     Employment manuals, like the LSU student handbook, are merely “unilateral

expressions” of an employer’s policy and procedures which is completely void of any bargained

for agreement on terms and conditions. Mix v. University of New Orleans, 609 So.2d 958, 961

(La. App. 4 Cir. 1992). See also Schwarz v. Administrators of Tulane Educational Fund, 699 So.2d

895, 897 (La. App. 4 Cir. 1997) (holding that failure to grant tenure to a professor in accordance

with the terms and conditions set forth in a faculty handbook did not breach any contract

because the handbook was a unilateral expression of policy and did not represent a meeting of

the minds); Stanton v. Tulane University, 777 So.2d 1242, 1250 (La. App. 4 Cir. 2001) (in

affirming grant of Tulane motion for summary judgment, held that Tulane’s employee manuals,

policies, and procedures do not confer contractual rights); Hartz v. Administrators of Tulane

Educational Fund, 275 F.Appx. 281, 289 (5th Cir. 2008) (in reversing district court’s partial denial

of Tulane motion for summary judgment, held that university policies and procedures are not

contractual).

       Plaintiffs’ claims for breach of contract against Stewart, Monaco, and Marchand must be

dismissed with prejudice.

       XI.       Count XVII, “Civil Conspiracy,” must be dismissed.

       Plaintiffs’ attempt to state a claim for civil conspiracy should be dismissed. It is well-

established that an independent cause of action for civil conspiracy does not exist under

Louisiana law. Able Sec. and Patrol, LLC v. State of Louisiana, 569 F.Supp.2d 617 (E.D. La. 2008);

Hardy v. Easterling, 113 So.3d 1178, 1184 (La. App. 2 Cir. 2013). Under Louisiana law, civil

conspiracy is not an independent cause of action, but must be accompanied by an underlying


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tort. See Butz v. Lynch, 97-2166 (La. App. 1 Cir. 04/08/98), 710 So.2d 1171. The actionable

element in a claim under this article is not the alleged conspiracy itself, but rather the tort

which the conspirators allegedly agreed to perpetrate and which they actually committed in

whole or in part. Id. To recover under this theory of liability, a plaintiff must prove that an

agreement existed between parties to commit an illegal or tortious act which resulted in the

plaintiff’s injury. Silver v. Nelson, 610 F. Supp. 505, 516-517 (E.D. La. 1985). A plaintiff must

establish that there was an agreement as to the intended outcome or result. Walker v.

American Honda Motor Co., Inc., 93-1659 (La. App. 3 Cir. 6/1/94); 640 So. 2d 794, 797, writ

denied, 94-1741 (La. 10/7/94); 644 So. 2d 644.

       Plaintiffs do not and cannot plausibly claim that Stewart, Monaco, and Marchand

reached an agreement among themselves or with other defendants with the intention to injure

female students at LSU by not properly investigating instances of sexual assault. Aside from

conclusory statements, there are no facts which showed that any defendant entered into an

agreement with anyone else to harm any plaintiff. Because conspiracy cannot be a solo

endeavor, and because conspiracy is not itself a stand-alone cause of action, defendants submit

that Count XVII must be dismissed.

       XII.   Count XIX, “Civil Violations of the Louisiana Racketeering Act,” must be
              dismissed.

       Plaintiffs’ Louisiana Racketeering Act Case Statement (“LRA Case Statement”) and

Amended Class Action Complaint are devoid of facts that would entitle them to relief from

these defendants under the Louisiana Racketeering Act (“LRA”).

       To state a claim under the LRA, a plaintiff must identify and allege facts demonstrating

the requisite elements thereof, namely, “predicate acts” and a “pattern of racketeering

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activity.” Plaintiffs fail to allege sufficient facts that Stewart, Monaco, or Marchand committed

predicate acts, thus failing to plead that these defendants engaged in a “pattern of racketeering

activity,” as required to state a claim for relief under the LRA. Rather, plaintiffs’ claims are

based on conduct that does not qualify as a “prohibited act” under the LRA. Further, plaintiffs

fail to show how their alleged injuries have directly resulted from defendants’ alleged

racketeering and thus fail to establish that they have standing. Accordingly, plaintiffs have failed

to state a claim upon which relief can be granted, and their LRA claim should be dismissed as a

matter of law.

                 A.      Elements of a Louisiana Racketeering Act Claim

       The LRA is found at La. R.S. 15:1351, et seq.       Section 1353 sets forth the following

prohibited activities:

       A.      It is unlawful for any person who has knowingly received any proceeds
       derived, directly or indirectly, from a pattern of racketeering activity to use or
       invest, whether directly or indirectly, any part of such proceeds, or the proceeds
       derived from the investment or use thereof, in the acquisition of any title to, or
       any right, interest, or equity in immovable property or in the establishment or
       operation of any enterprise.

       B.      It is unlawful for any person, through a pattern of racketeering activity,
       knowingly to acquire or maintain, directly or indirectly, any interest in or control
       of any enterprise or immovable property.

       C.     It is unlawful for any person employed by, or associated with, any
       enterprise knowingly to conduct or participate in, directly or indirectly, such
       enterprise through a pattern of racketeering activity.

       D.      It is unlawful for any person to conspire or attempt to violate any of the
       provisions of Subsections A, B, or C of this Section.


To state a valid cause of action under the LRA (and the federal statute on which it is based), a

party must allege that (1) a person or persons (within the meaning of RICO), (2) engaged in a

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pattern of racketeering activity, (3) that was connected to the acquisition, establishment,

conduct or control of an enterprise. See La. R.S. 15:1353 and 1356; see also St. Paul Mercury

Ins. Co. v. Williamson, 224 F.3d 425 439 (5th Cir. 2000) and Brown v. Protective Life Ins. Co., 353

F.3d 405 407 (5th Cir. 2003). In addition, to proceed with any claim under the LRA, the

complaint must sufficiently allege a “pattern of racketeering activity,” defined by La. R.S.

15:1352(C) to be:

         [E]ngaging in at least two incidents of racketeering activity that have the same or
         similar intents, results, principals, victims, or methods of commission or
         otherwise are interrelated by distinguishing characteristics and are not isolated
         incidents, provided...that the last of such incidents occurs within five years after
         a prior incident of racketeering activity.

“Racketeering activity” is defined in 18 U.S.C. § 1961(1) in terms of a list of state and federal

crimes, which are described as “predicate acts.” The predicate acts that may form the basis for

such “racketeering activity” in an LRA claim are specifically enumerated in the LRA statute. See

La. R.S. 15:1352(A)(1)-(65).

         Regarding the general requirements for proving a civil RICO42 cause of action, the Fifth

Circuit, in Walker v. Beaumont Independent School District, 938 F.3d 724, 738 (5th Cir. 2019), set

forth the following:

         To establish a RICO “enterprise,” a plaintiff must provide evidence of the
         existence of an entity separate and apart from the pattern of racketeering
         activity. United States v. Turkette, 452 U.S. 576, 583, 101 S.Ct. 2524, 69 L.Ed.2d
         246 (1981). The entity does not have to be a formal or legal entity, but it must
         have some sort of hierarchical or consensual decision-making structure, and it
         must exist for purposes other than just to commit redicate acts. Inre McCann,
         268 F.App’x 359, 366 (5th Cir. 2008); United States v. Bledsoe, 674 F.2d 647, 663


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  The LRA was “modeled after the federal ‘RICO’ legislation and courts therefore look to “federal interpretations
for guidance.” See Egana v. Blair’s Bail Bonds, No. 17-5899, 2019 U.S. Dist. LEXIS 38428, at *7 n.9 (citing State v.
Nagi, 2018 WL 1704253 (La. App. 1 Cir. 2018); see also State v. Elmore, 2017 La. App. LEXIS 1865 (La. App. 4 Cir.
2017).

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       (8th Cir. 1982). A plaintiff establishes the existence of an enterprise by providing
       “evidence of an ongoing organization, formal or informal, and by evidence that
       the various associates function as a continuing unit. Turkette, 452 U.S. at 583,
       101 S.Ct. 2524. For an informal enterprise, known as an association-in-fact
       enterprise, the “group need not have a hierarchical structure or a ‘chain of
       command’; decisions may be made on an ad hoc basis and by any number of
       methods – by majority vote, consensus, a show of strength, etc.” Boyle v.
       United States, 556 U.S. 938, 948, 29 S. Ct. 2237, 173 L.Ed.2d 1265 (2009).
       “Members of the group need not have fixed roles; different members may
       perform different roles at different times…” Id. Further, “while the proof used
       to establish these separate elements may in particular cases coalesce, proof of
       one does not necessarily establish the other. The ‘enterprise’ is not the ‘pattern
       of racketeering activity.’” Id. Plaintiffs must “plead specific facts, not mere
       conclusory allegations, which establish the enterprise.” Manax v. McNamara,
       842 F.2d 808, 811 (5th Cir. 1988 [emphasis added]. Finally, “a RICO plaintiff must
       plead the specified facts as to each defendant. It cannot…’lump [ ] together
       the defendants.’” In re MasterCard Int’l., Inc., Internet Gambling Litigation, 132
       F.Supp.2d 468, 476 (E.D. La. 2001), aff’d, 313 F.3d 257 (5th Cir. 2002) (quoting
       Goren v. New Vision Int’l, Inc., 156 F.3d 721 730 (7th Cir. 1998)) [emphasis
       added].

       To withstand a motion to dismiss, a plaintiff must allege facts sufficient to establish the

essential elements of his or her racketeering claim. Price v. Pinnacle Brands, Inc., 138 F.3d 602,

606 (5th Cir. 1998). A plaintiff must allege specific facts concerning (1) the conduct (2) of an

enterprise (3) through a pattern (4) of racketeering activity. Sedima, S.P.R.L. v. Imrex Co., 473

U.S. 479, 496, 105 S.Ct. 3275, 87 L.Ed.2d 346 (1985); Elliot v. Foufas, 867 F.2d 877, 880 (5th Cir.

1989). See also Robinson v. Standard Mortgage Corp., 191 F.Supp.3d 630, 638 (E.D.La. 2016)

(Vance, J.); Castrillo v. American Home Mortgage Servicing, Inc., 670 F.Supp.2d 516, 530 (E.D.La.

2009) (Vance, J.); Scottsdale Insurance Co. v. Dorman, 153 F.Supp.2d 852, 856 (E.D. La. 2001)

(Clement, J.).




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                    B. Plaintiffs Fail to Allege Facts to Establish that Defendants Committed
                       Predicate Acts Under the LRA.

           Plaintiffs allege that Stewart, Monaco, and Marchand committed the following

predicate acts: (1) Public Intimidation (La. R.S. 14:122); (2) Intimidating Witnesses (La. R.S.

14:129.1); (3) Injuring Public Records (La. R.S. 14:132); (4) Maintaining False Public Records (La.

R.S. 14:133); (5) Money Laundering (La. R.S. 14:230); and (6) Corrupt Influencing (La. R.S.

14:120). However, plaintiffs have listed only conclusory allegations as the basis for each of

these predicate acts, failing to allege facts that establish illegal conduct attributable to these

defendants.

                                 1. Public Intimidation (La. R.S. 14:122):

           Plaintiffs allege the predicate act of Public Intimidation. La. R.S. 14:122(C)(1) defines

this offense as follows:

           Public Intimidation is the use of . . . extortionate threats, or true threats upon
           any of the following persons, with the intent to influence his conduct in relation
           to his position, employment, or duty. . .” La. R.S. 14:122(A). “‘Extortionate
           threats’ occur when a person communicates an unlawful threat to harm another
           person with the intention to obtain anything of value or any . . . advantage, . . . of
           any description and the person would not otherwise be able to lawfully secure
           such advantage willingly from the victim.”

           Plaintiffs list Stewart, Monaco, and Marchand as “Participants” in this predicate act.43

However, the only allegation made against the defendants regarding Public Intimidation is the

following statement:

           Defendant Lewis being told by Athletics Department staff during a mandatory
           meeting that individuals attempting to report Sexual Misconduct are
           “Tattletales.” This is a direct consequence of the following: 1) LSU, Alexander,
           Alleva, Monaco, Ausberry, Marchand, Segar, and Stewart’s consistent attempts
           to incentivize public employees to Retaliate against such employees; 2) the same

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     LRA Case Statement, R.Doc. 103, p. 40.

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          Defendants’ threats of Retaliation against individuals attempting to report Sexual
          Misconduct. . .44

          An allegation of “attempts to incentivize public employees to retaliate,” even if true, is

clearly not a use of “extortionate threats” or “true threats.” There is not a single allegation in

the Amended Class Action Complaint or in the LRA Case Statement that Stewart, Monaco, or

Marchand made any statements that constitute a threat. Not one factual allegation is offered

to support these conclusory statements—statements which, even if true, obviously do not

violate the statute.

                               2. Intimidating Witnesses (La. R.S. 14:129.1)

          Plaintiffs also allege the predicate act of Intimidating Witnesses, citing La. R.S. 14:129.1:

          No person shall intentionally: (1) Intimidate or impede, by threat of force or
          force, or attempt to intimidate or impede, by threat of force or force, a witness .
          . . with intent to influence . . . his reporting of criminal conduct . . .; [or] (2) Injure
          or attempt to injure a witness in his person or property . . . with intent to
          influence . . . his reporting of criminal conduct . . .

          Plaintiffs list Stewart, Monaco, and Marchand as “Participants” in this predicate act.45

However, plaintiffs allege only the following facts against these three defendants regarding the

predicate act of Intimidating Witnesses:

                 •   “This inadequate training is a direct consequence of the inadequate Title IX

                     training and reporting system;”46

                 •   “[T]hese Defendants engaged in a pattern of attempts to incentivize

                     Responsible Employees and students to Retaliate and threaten Retaliation

                     against individuals attempting to report Sexual Misconduct;”47

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   Id., p. 41.
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   Id., p. 42.
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   Id., p. 43.

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                 •   ‘Stewart also denied Andries’ request to remove Roe from their shared classes

                     because “that would violate his rights;”’48

                 •   “Defendant Monaco refused to provide Interim Measures to one of the student

                     victims of former LSU football coach Les Miles”49

          None of these allegations in the LRA Case Statement, nor any of the allegations in the

Amended Class Action Complaint, indicate that the defendants made a “threat of force” or

committed an act of “force” to intimidate or impede any of the plaintiffs. Nor do any of these

allegations constitute an “attempt to intimidate or impede, by threat of force or force.” None of

the allegations pleaded thus far indicate that Stewart, Monaco, and Marchand used force, or

the threat of force, to injure a witness. Thus, even accepting the allegations as true, they would

not amount to a violation of La. R.S. 14:129.1.

                               3. Injuring Public Records (La. R.S. 14:132)

          Plaintiffs allege the predicate act of Injuring Public Records, citing La. R.S. 14:132 which

defines this offense as “the intentional removal, mutilation, destruction, alteration, falsification,

or concealment of any record, document, or other thing, filed or deposited, by authority of law,

in any public office or with any public officer” and “the intentional removal, mutilation,

destruction, alteration, falsification, or concealment of any record, document, or other thing,

defined as a public record pursuant to R.S. 44:1 et seq. and required to be preserved in any

public office or by any person or public officer pursuant to R.S. 44:36.”




47
   Id.
48
   Id.
49
   Id., p. 47.

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          Plaintiffs list Stewart, Monaco, and Marchand as “Participants” under this predicate

act.50 However, none of the alleged facts even mention Monaco or Marchand, with the

exception of this conclusory statement: “Higher-ranking members of the Enterprise (TAF, Board

Alexander, Alleva, Ausberry, Segar, Orgeron/Finch, Marchand, Stewart, Fuentes-Martin,

Monaco, J. Sell, M. Sell) intentionally trained lower-ranking members to keep inadequate

records in maintenance of the Enterprise.”51 La. R.S. 14:132 does not mention intentional

training. The statute speaks only to “the intentional removal, mutilation, destruction,

alteration, falsification, or concealment of any record.” Thus, none of the facts alleged under

this predicate act indicate that Marchand or Monaco committed this crime.

          Plaintiffs make the following allegation related to Stewart under this predicate act:

“Unidentified persons under the control of Defendant Stewart in the Title IX Office and

Defendant Fuentes-Martin in the Dean of Students’ Office concealed notes or other written

evidence of Plaintiff Doe’s reports of Sexual Misconduct from public records.”52 But this

allegation is not against Stewart; rather, it is an allegation of criminal conduct by some

unidentified person in the Title IX Office. Plaintiffs have not alleged that Stewart herself

destroyed any records or intentionally falsified records. It is facially apparent that these claims

do not constitute a violation of La. R.S. 14:132.

                             4. Maintaining False Public Records (La. R.S. 14:133)

          Plaintiffs also allege the predicate act of Maintaining False Public Records, citing La. R.S.

14:133 which provides that “[f]iling false public records is the . . . maintaining as required by



50
   Id., p. 47.
51
   Id., p. 48.
52
   Id., p. 49.

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law, regulation, or rule, with knowledge of its falsity, of any of the following: . . . Any document

containing a false statement or false representation of a material fact.”

         Plaintiffs list Stewart, Monaco, and Marchand as “Participants” under this predicate

act.53 The following allegations were made against Marchand and Stewart:

         Defendants Marchand and Stewart, as campus Title IX Coordinators, were
         required by law to keep records of all reports of Sexual Misconduct, interview
         notes and investigation reports related to reports of Sexual Misconduct, and
         documentation related to the determination of responsibility, sanctioning, and
         any applicable appeals process for all reports of Sexual Misconduct. Marchand,
         Stewart, and their subordinate employees did not maintain these records
         appropriately and not only concealed material facts but also documented false
         information.54

         Plaintiffs’ allegations against Marchand and Stewart do not claim any “knowledge of

falsity” as required by La. R.S. 14:133. Plaintiffs go on to provide a list of examples of these

“false records” but fail to provide any facts thus far that indicate that Stewart had knowledge of

their falsity. Furthermore, a paragraph in the Amended Class Action Complaint states that

Marchand’s role as Title IX Coordinator ended in 2015.55 Only two named plaintiffs, Richardson

and Kitch, allege incidents of sexual harassment which occurred during the time that Marchand

was Title IX coordinator, but neither reported the misconduct during that time.56 No other

plaintiff alleges any incident or report of sexual misconduct which occurred while Marchand

was Title IX coordinator.57 Because Marchand was not serving as Title IX Coordinator when any

plaintiff submitted a report, he was under no obligation to keep records of non-existent

reports, nor did he handle or document facts in non-existent reports.


53
   Id., p. 50.
54
   Id., pp. 51-52.
55
   R.Doc. 22, ¶ 46.
56
   Id., ¶¶ 110, 111, 115, 340-42, 349.
57
   Id., ¶¶ 120, 156-59, 177, 193-95, 209. 244, 285, 302, 322.

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           The following allegation was made against Monaco under the predicate act of

Maintaining False Public Records:

           Defendant Monaco knowingly maintained various human resource documents
           that he knew contained either false information or material misrepresentations
           of fact, including, but not limited to, any investigation reports stating that Les
           Miles did not violate Title IX.58

Plaintiffs have not provided a single fact in the LRA Case Statement or the Amended Class

Action Complaint to support this conclusory allegation. Nor is this allegation even relevant to a

single plaintiff’s claims, as no plaintiff has alleged any misconduct directed at them by Les Miles

nor any direct injury resulting from this alleged act by Monaco.

                              5. Money Laundering (La. R.S. 14:230)

           Plaintiffs allege the predicate act of Money Laundering, citing La. R.S. 14:230 which

provides a list of acts that constitute a violation of this statute. This list of acts includes the

following:

           “(1) Conduct, supervise, or facilitate a financial transaction involving proceeds
           known to be derived from criminal activity, when the transaction is designed in
           whole or in part to conceal or disguise the nature, location, source, ownership,
           or the control of proceeds known to be derived from such violation or to avoid a
           transaction reporting requirement under state or federal law. (2) Give, sell,
           transfer, trade, invest, conceal, transport, maintain an interest in, or otherwise
           make available anything of value known to be for the purpose of committing or
           furthering the commission of any criminal activity. (3) Direct, plan, organize,
           initiate, finance, manage, supervise, or facilitate the transportation or transfer of
           proceeds known to be derived from any violation of criminal activity. (4) Receive
           or acquire proceeds derived from any violation of criminal activity, or knowingly
           or intentionally engage in any transaction that the person knows involves
           proceeds from any such violations. (5) Acquire or maintain an interest in,
           receive, conceal, possess, transfer, or transport the proceeds of criminal activity.
           (6) Invest, expend, or receive, or offer to invest, expend, or receive, the proceeds
           of criminal activity.


58
     R.Doc. 103, p. 51.

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La. R.S. 14:230(B). Plaintiffs list Stewart, Monaco, and Marchand as “Participants” in this

predicate act and allege that the “Participants” of the Enterprise “knowingly possessed

proceeds derived from the Enterprise.”59 However, plaintiffs have offered no facts in the LRA

Case Statement or in the Amended Class Action Complaint to support this conclusory

allegation. Plaintiffs allege that “Marchand, Monaco, Stewart, and Fuentes- Martin consistently

provided their respective Authority and Control of LSU employees to the Enterprise for the

furtherance of the Enterprise.”60 This is the only other allegation made against these three

defendants under the predicate act of Money Laundering; however, it does not amount to

money laundering because it does not meet any of the six statutory definitions noted above.

Plaintiffs do not provide any facts that could plausibly show that defendants committed the act

of Money Laundering.

                              6. Corrupt Influencing (La. R.S. 14:120)

            Plaintiffs allege the predicate act of Corrupt Influencing, citing La. R.S. 14:120   which

provides:

            Corrupt influencing is the giving or offering to give anything of apparent present
            or prospective value to, or the accepting or offering to accept anything of
            apparent present or prospective value by, any person, with the intention that
            the recipient shall corruptly influence the conduct of any of the persons named
            in R.S. 14:118 (public bribery) in relation to such person's position, employment
            or duty.

Plaintiffs list Stewart, Marchand, and Monaco as “Participants” under this predicate act and

provide the following allegation:

            [P]articipants created a compensation scheme that gave bonuses and incentive-
            based      payments     to   Responsible   Employees     and    to    certain

59
     Id., p. 53.
60
     Id., p. 55.

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            programs/departments at LSU that intended to and did in fact corruptly
            influence public employees to have a deficient university-wide Title IX program
            that ignored, suppressed, and/or minimized Title IX complaints, intimidated
            victims and witnesses of Sexual Misconduct, and caused false records to be kept
            at LSU.61

            There are no factual allegations in the LRA Case Statement or the Amended Class Action

Complaint that support this conclusory statement. Plaintiffs do not provide a single fact

indicating that any of these three defendants have given, offered, or accepted “anything of

apparent present or prospective value.”

            Plaintiffs have failed to sufficiently plead any violation of state criminal law that could

constitute racketeering activity under the LRA and serve as a predicate offense for a Louisiana

RICO violation. Because plaintiffs fail to sufficiently plead any predicate acts, their LRA claim

fails as a matter of law and should be dismissed.

                   C. Plaintiffs Fail to Plead a “Conspiracy” to Violate the Louisiana Racketeering
                      Act.

            Plaintiffs similarly fail to sufficiently plead the existence of any agreement to violate the

Louisiana Racketeering Act. To prevail on a racketeering conspiracy claim, plaintiffs must

demonstrate “(1) that two or more people agreed to commit a substantive [racketeering]

offense and (2) that [the defendants] knew of and agreed to the overall objective of the

[racketeering] offense.” N. Cypress Med. Ctr. Operating Co. v. Cigna Healthcare, 781 F.3d 182,

203 (5th Cir. 2015); see Chaney v. Dreyfus Serv. Corp., 595 F.3d 219, 239 (5th Cir. 2010).

Further, “a RICO plaintiff must plead the specified facts as to each defendant. [It] cannot . . .

‘lump[ ] together the defendants.’” In re MasterCard Int’l, Inc., Internet Gambling Litig., 132

F.Supp.2d at 476 (quoting Goren v. New Vision Int’l, Inc., 156 F.3d 721, 730 (7th Cir. 1998)).

61
     Id., p. 56.

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Finally, "because the core of a [racketeering] civil conspiracy is an agreement to commit

predicate acts, a [racketeering] civil conspiracy complaint, at the very least, must allege

specifically such an agreement." Crowe v. Henry, 43 F.3d 198 (5th Cir. 1985) (quoting Tel-Phonic

Servs., Inc. v. TBS Int’l, Inc., 975 F2d. 1134, 1140 (5th Cir. 1992)).

            Here, plaintiffs have pleaded no facts indicating that Stewart, Monaco, or Marchand

agreed to commit a substantive offense or that they knew of and agreed to the overall

objective. Instead, plaintiffs have alleged broadly that the defendants entered into an

agreement “to conduct the affairs of the Enterprise.”62 Plaintiffs provide the following identical

statement for each defendant (with each respective defendant’s name plugged in):

            Stewart is liable under La. R.S. § 15:1353(D) for conspiring with LSU, Alexander,
            Alleva, Orgeron, Finch, J. Sell, M. Sell, TAF, Segar, Marchand, Fuentes-Martin,
            Ausberry, Monaco, and various non-defendants to conduct the affairs of the
            Enterprise through a pattern of racketeering activity by agreeing with one or
            more co-conspirators to pursue the common criminal objective of operating the
            Enterprise designed to protect and maximize the future revenue created by
            LSU’s athletics programs by, inter alia, violating the rights of Sexual Misconduct
            victims through a pattern of racketeering activity.63

However, simply alleging the existence of an agreement is not sufficient. Martin v. Magee, No.

10-2786, 2011 U.S. Dist. LEXIS 61977 (E.D. La. June 10, 2011). Plaintiffs have not provided any

factual allegations plausibly suggesting that such an agreement was made by Stewart, Monaco,

or Marchand. Plaintiffs have not demonstrated any type of “conspiracy” between or among

the defendants beyond the fact that most of them simply work for the same institution. This is

plainly insufficient. Chaney, 595 F.3d at 239 (Additionally, “a person cannot be held liable for a

RICO conspiracy ‘merely by evidence that he associated with other . . . conspirators or by


62
     Id., pp. 28, 29, 31.
63
     Id., p. 28.

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evidence that places the defendant in a climate of activity that reeks of something foul.’”)

(quoting United States v. Posada–Rios, 158 F.3d 832, 857 (5th Cir. 1998)).

       Further, “to establish a civil [racketeering] conspiracy, a [racketeering] conspiracy

plaintiff [must] allege injury from an act that is analogous to an act of tortious character,

meaning an act that is independently wrongful[.]” Davis-Lynch, Inc. v. Moreno, 667 F.3d 539,

552 (5th Cir. 2012) (quoting Beck v. Prupis, 529 U.S. 494 (2000)). This “act of tortious character”

is also known as a “predicate act.” Without it, plaintiffs cannot establish a civil racketeering

conspiracy. As demonstrated herein, plaintiffs’ allegations of predicate acts are conclusory and

insufficient. Instead of alleging predicate acts, plaintiffs have strung together a series of

purported acts or omissions, lumped them all together, thrown in a legal conclusion that a

statute was violated, yet failed to allege any facts specifying how any defendant’s conduct

constitutes a violation of the statute. This is yet another example of plaintiffs’ shotgun

approach to pleading.

               D. Plaintiffs Fail to Allege Injury and Lack Standing.

       Plaintiffs have similarly failed to meet the requisite showing of injury caused by

defendants’ alleged predicate acts.

       There is very little Louisiana jurisprudence regarding the LRA. However, because the

LRA was modeled on federal RICO legislation, and because of the parallels between RICO and

the LRA, state and federal courts interpreting the LRA have held that federal RICO jurisprudence

is persuasive. See State v. Touchet, 99-1416 (La. App. 3 Cir 04/05/00), 759 So. 2d 194; Cox, Cox,

Filo, Camel & Wilson, LLC v. Sasol N. Am., Inc., No. 2:11-CV-00856, 2013 U.S. Dist. LEXIS 120297

(W.D. La. Aug. 21, 2013); Zilbert v. Sasol N. Am., Inc., No. 2:11 CV 00862, 2012 U.S. Dist. LEXIS


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74920 (W.D. La. May 25, 2012). Those courts have applied the federal RICO standing element

to LRA claims. Id.

       Standing generally is a threshold consideration for any Court before moving on to the

merits. However, RICO/LRA standing is unique in that a civil plaintiff has standing to assert a

civil cause of action only if a violation of the statute proximately caused his injuries. See In re

MasterCard Int'l Inc., Internet Gambling Litig., 132 F.Supp. 2d at 495; Jackson v. Nat’l Ass’n for

Advancement of Colored People, 546 F.App’x 438, 442 (5th Cir. 2013) (citing Price v. Pinnacle

Brands, Inc., 138 F.3d 602, 606 (5th Cir. 1998)). A plaintiff must satisfy two elements to

establish standing: injury and causation. Jackson, 546 F.App’x at 442. A cognizable RICO/LRA

injury must be to business or property. “Injury to mere expectancy interests or to an ‘intangible

property interest’ is not sufficient to confer RICO standing.” Morrell v. Alfortish, No. 10-924,

2010 WL 4668429, at *5 (E.D. La. Nov. 9, 2010) (Fallon, J.) (quoting Price, 138 F.3d at 607).

       To establish standing, a plaintiff must plead more than “speculative damages” that

“would not simply entail a calculation of present, actual damages.” In re Taxable Mun. Bond

Sec. Litig., 51 F.3d 518, 523 (5th Cir. 1995). For purposes of causation, a plaintiff has a right of

action only if the plaintiff can show that he has been injured “by reason of” a racketeering

violation. See Torres v. S.G.E. Mgmt., L.L.C., 838 F.3d 629, 636 (5th Cir. 2016), cert. denied, 138

S.Ct. 76, 199 L.Ed. 2d 24 (2017) (citing 18 U.S.C. § 1964(c)). The United States Supreme Court

has established that plaintiffs must demonstrate both “but-for” causation and proximate cause

to show that they have been injured “by reason of” a racketeering violation. Id. To establish

proximate cause, there must be “some direct relation between the injury asserted and the

injurious conduct alleged.” Id. “When a court evaluates a [racketeering] claim for proximate


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cause, the central question it must ask is whether the alleged violation led directly to the

plaintiff’s injuries.” Id.

            Plaintiffs have not alleged conduct by defendants that would rise to the level of a

Louisiana Racketeering Act violation. At best, they have alleged what amounts to indirect injury,

which is legally insufficient. Even if the alleged predicate acts were true, there is no indication

that plaintiffs’ injuries were directly caused by defendants’ conduct. A simple “but-for” analysis

easily shows that plaintiffs have not sustained direct injury arising from the purported predicate

acts of Stewart, Monaco, and Marchand. For example, to allege direct injury, plaintiffs would

have to allege facts indicating that if Stewart had not concealed “witness accounts of John

Roe’s abuse of Plaintiff Andries” (as alleged under the predicate act of Injuring Public Records),

Andries would not have sustained injury to her business or property.64 Such an analysis is

impossible because plaintiffs do not plead any facts that would lead to this conclusion. The

number of steps and assumptions one would have to pursue to find causation between

defendants’ alleged predicate acts and plaintiffs’ claimed injuries evidences a relationship that

is so indirect that standing cannot be reasonably conferred. Finally, even if plaintiffs had

sufficiently alleged that such acts or omissions “directly” injured them, not “every injury is

compensable [under RICO as] ‘RICO was intended to combat organized crime, not to provide a

federal cause of action and treble damages to every tort plaintiff.’” Fuller v. Harrah's Entm't,

Inc., No. CIV.A. 04-2108, 2004 WL 2452771, at *2 (E.D. La. Oct. 29, 2004) (quoting Oscar v. Univ.

Students Co-op. Ass'n, 965 F.2d 783, 786 (9th Cir. 1992)).




64
     Id., p. 49.

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            Even if plaintiffs were able show that their injuries resulted directly from defendants’

predicate acts, they have not sufficiently alleged injury to business or property. The Eastern

District and Fifth Circuit have both held that there is no recovery under racketeering laws for

personal injuries. Morell, 2010 WL 4668429, at *5; see also Labat v. Williams, No. 08-4041,

2010 U.S. Dist. LEXIS 83260 (E.D. La. July 8, 2010) (quoting Price, 138 F.3d at 607)

(“Furthermore, since there is no recovery under RICO for personal injuries, a plaintiff does not

have standing to sue under 18 U.S.C. § 1964(c) based on such injuries”). [Emphasis added.]

Under point #4 in plaintiffs’ LRA Case Statement (titled “List the alleged victims and state how

each victim allegedly was injured”), each plaintiff alleges personal injury consisting of “severe

emotional and physical distress.”65 This is clearly not an injury to business or property.

Plaintiffs also allege economic damages in the form of “healthcare related expenses” incurred

due to their emotional and physical distress, which is similarly unrecoverable under RICO and

by extension the LRA.66 See Taitz v. Democrat Party of Miss., No. 3:12-cv-280-HTW-LRA, 2015

U.S. Dist. LEXIS 178819 (S.D. Miss. Mar. 31, 2015) (‘Injury under civil RICO is defined as harm to

"business or property;" thus, personal injuries such as medical expenses, emotional distress, or

injuries related to defamation are not cognizable under RICO.’) (citing Gaines v. Tex. Tech Univ.,

965 F.Supp. 886 (N.D. Tex. 1997) and Reiter v. Sonotone Corp., 442 U.S. 330, 339, 99 S.Ct. 2326,

60 L.Ed.2d 931 (1979)). See also Genty v. RTC, 937 F.2d 899, 918 (3rd Cir. 1991) (holding that

plaintiffs could not recover under RICO for medical expenses and damages for emotional

distress resulting from exposure to toxic waste).




65
     Id., pp. 36-39.
66
     Id., pp. 37-38.

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         Plaintiffs also allege “severe economic damages” in the form of lost earning potential,

lost opportunities for significant earning potential, lost scholarships, and lost future income.67

These claims clearly constitute an “injury to mere expectancy interests or to an ‘intangible

property interest,’” neither of which is sufficient to confer standing. See Morrell v. Alfortish,

supra. Not only is the use of the words “opportunities” and “potential” facially indicative of

expectancy interest and/or intangibility, but further, alleging potential loss of revenue because

of the inability to complete education and vocational opportunities is simply not sufficient to

establish a financial injury to business or property sufficient to sustain a RICO cause of action.

See Labat v. Williams, No. 08-4041, 2010 U.S. Dist. LEXIS 83260 (E.D.La. July 8, 2010).68

         Plaintiffs have failed to allege facts to support any direct injury to plaintiffs’ business or

property and correspondingly have failed to allege facts sufficient to demonstrate standing

under their LRA claim.

         XIII.    Count XX, “Enrichment Without Cause,” must be dismissed.

         Louisiana Civil Code Article 2298 provides that a person who has been enriched without

cause at the expense of another person is bound to compensate that person. This remedy is

subsidiary and shall not be available if the law provides another remedy for the

impoverishment. La. C.C. Art. 2298; see also Walters v. Medsouth Record Mgmt., LLC, 10-0351

(La. 06/04/10), 38 So. 3d 243)). If plaintiffs allege that these defendants and others violated

67
   Id., pp. 36-39.
68
   In Labat, the court stated: “In this case, Labat claims that he suffered a potential loss of revenue because he was
not able to complete his education and vocational opportunities in jail so that he could later earn money through
the work-release program. . . Labat's allegations, if true, do not establish that he was a "'person injured in his
business or property by reason of a violation' of [RICO]" as required under § 1964(c). At best, he claims that he
may have lost some earning potential if he could have been placed in a work-release program and if he had
completed the necessary training. This is tenuous at best and is not adequate to establish that he actually suffered
a financial injury to an existing business enterprise or property directly related to an illegal act by the defendants.”


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their rights under Title IX, plaintiffs may pursue their Title IX claims against LSU. But where

plaintiffs have literally asserted eighteen other counts for relief, they cannot recover under any

theory of unjust enrichment.

       Further, while plaintiffs alleged that the various defendants were enriched “by the

millions of dollars that the LSU football program and TAF were able to bring into the school,”

there is no allegation claiming that Stewart, Monaco, or Marchand were unjustly enriched.

There is no plausible claim that their jobs only existed and that they only received salaries and

benefits because by covering up alleged sexual assaults the LSU football program and Athletic

Department made money; all of their pay and benefits is funded by the State of Louisiana, not

by the LSU football team or TAF. This claim must be dismissed.

                                           CONCLUSION

       Rather than pursue Title IX claims against LSU, Plaintiffs have instead opted to file

egregious and convoluted shotgun pleadings firing away indiscriminately at every individual

defendant they could think of in what appears to be an attempt to make this litigation as

burdensome and unmanageable as possible.              Following the public release of the Husch

Blackwell report on March 3, 2021, plaintiffs, in an apparent rush to be first to the courthouse,

filed suit less than two months later with little if any due diligence into the merit of their claims

against any specific individual defendant.       Their shotgun approach to litigation must be

rejected. Defendants Jennie Stewart, A.G. Monaco, and James Marchand urge the Court to

dismiss with prejudice the many counts asserted against them in plaintiffs’ Amended Class

Action Complaint, either under Rule 12(b)(1) for lack of subject matter jurisdiction due to

Eleventh Amendment immunity or under Rule 12(b)(6) for failure to state a claim.


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                                   Respectfully submitted,

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